            Case 2:16-cv-02496-GMN-NJK Document 7 Filed 12/27/16 Page 1 of 1



     David H. Krieger, Esq.
 1   Nevada Bar No. 9086
     HAINES & KRIEGER, LLC
 2
     8985 S. Eastern Avenue, Suite 350
 3
     Henderson, Nevada 89123
     Phone: (702) 880-5554
 4   FAX: (702) 385-5518
     Email: dkrieger@hainesandkrieger.com
 5
     Attorneys for Plaintiff
 6   LEISA WHITTUM
 7                             IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEVADA
 8
     LEISA WHITTUM,                                   )   Case No. 2:16-cv-02496-GMN-NJK-
 9
                                                      )
                           Plaintiff,                 )
10
     v.                                               )
                                                          NOTICE OF DISMISSAL WITH
                                                      )
11                                                        PREJUDICE AS TO DEFENDANT
                                                      )   CASH 1, LLC
     CASH 1, LLC,
                                                      )
12
                           Defendant.                 )
                                                      )
13
            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Defendant CASH 1, LLC, not having filed or
14
     served an answer or a motion for summary judgment; the Plaintiff in the above-entitled action, as
15
     to Defendant CASH 1, LLC authorizes, and directs the Clerk of the Court to enter a judgment of
16
     dismissal with prejudice, against Defendant CASH 1, LLC.
17
            Dated:             December 27, 2016
18
                                            Respectfully submitted,
19
                                            By:     /s/David H. Krieger, Esq.
20                                                  David H. Krieger, Esq. (Nevada Bar No. 9086)
                                                    HAINES & KRIEGER, LLC
21                                                  8985 S. Eastern Avenue, Suite 350
                                                    Henderson, Nevada 89123
22                                                  Attorney for Plaintiff
23

24

25

26
                                                   Page 1 of 1
27

28
